
In re: South Central Bell Telephone Company applying for writs of certiorari or review.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Melvin Á. Shortess, Judge of the Nineteenth Judicial District Court for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 30th day of March, 1970, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may' be ascertained.
It is further ordered that the aforesaid Judge of. said Court and the respondent Louisiana Public Service Commission shall show cause, in this court, on the date aforesaid, at 11 o’clock A. M., why the relief prayed for in the petition of the relator should not be granted.
